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                                      No. l7-1037L
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                                          )                              #3;3^""31?fi.
JOHN S. BARTH,                            )
                                          )
            Plaintiff,                    )
                                          )   Motion to Dismiss; Lack of Subject Matter
                                          )   Jurisdiction; RCFC l2(bXl);
                                          )   RCFC l2(bX6);RcFc l2(h)(3).
THE LINITED STATES,                       )
                                          )
            Defendant.                    )
                                          )

John S. Barth, Springvale, ME, pro se.

Aaron E. Woodward, Trial Attomey, with whom were Chad A. Readler, Acting Assistant
Attorney General, Robert E. Kirschman. Jr., Director, L. Misha Preheim, Assistant
Director, Commercial Litigation Branch, Civil Division, United States Department of
Justice, Washington, DC, for defendant.

                                         OPINION

CAMPBELL-SMITH, Judge.

        Before the court is defendant's motion to dismiss plaintiff s amended complaint,
in which he alleges various constitutional and copyright violations. See Am. Compl.,
ECF No. 10. Defendant moves to dismiss the first count of plaintiff s complaint for
failure to state a claim upon which reliefcan be granted, pursuant to Rule 12(b)(6) of the
Rules of the United States Court of Federal Claims (RCFC), and contends that the court
lacks jurisdiction to consider the second and third counts of plaintiff s amended
complaint, pursuant to RCFC l2(bXl). See Def.'s Mot. to Dismiss, ECF No. 11. For the
following reasons, defendant's motion to dismiss is GRANTED and plaintiff s complaint
is dismissed for lack of subject matter jurisdiction.




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L      Background

        Plaintiff filed a voluminous complaint in this case , primarily comprised of
allegations that various individuals and organizations violated his copyrights. See ECF
No. 10 at 17-21 (summarizing the second and third counts of the complaint). Plaintiff
names the government as a defendant only in the first count ofthe complaint, stating as
follows:

       The defendant United States is sued only in its liability for compensation of
       damages due       to   incidental taking   of   private property without just
       compensation, and denial ofproperty without due process or equal protection
       of law. The United States became involved by the actions of a district judge
       who refused to seal the case despite multiple clearly essential motions, or to
       request federal discovery assistance, or to disqualifr himself to permit a
       judge with knowledge of intemet racketeering to handle the case, and
       published the unredacted documents on the court and Pacer websites, thereby
       notiffing the defendants and allowing them to destroy evidence and move
       assets out of the country and beyond recovery by the Plaintiff and others.

       The said violations were done with full knowledge of the injury done,
       without permission of the Plaintiff, and have caused injury to the Plaintiff in
       the loss ofhis efforts offour years and his income from the sale ofintellectual
       property, and costs of prosecution, for which Plaintiff demands full
       compensation.

 Id. at 16 (emphasis in original). These allegations stem from the decisions issued by the
judge presiding over a case that plaintiff filed in the United States District Court for the
 Central District of Califomia. See Appx. B to Compl., ECF No. 1-9 at l-43t (compiling
 selected documents in Barth v. Playster Corp., Case No. 2:17-cv-0274).

IL     Legal Standards

       Pursuant to the Tucker Act, the court has the limited jurisdiction to consider "any
claim against the United States founded either upon the Constitution, or any Act of
Congress or any regulation ofan executive department, or upon any express or implied
contract with the United States, or for liquidated or unliquidated damages in cases not


'      When filing his original complaint, plaintiff omitted several pages, see ECF No. l,
and the court ordered him to file an amended complaint to correct the error, see ECF No.
9. Plaintiff complied with the court's order and filed an amended complaint, see ECF
No. 10, but omitted the exhibits he attached to the original complaint, which are
referenced throughout the amended pleading. In order to preserve the resources of both
the parties and the court, the court will refer to the exhibits as originally frled.
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sounding in tort." 28 U.S.C. $ la9l(a)(1) (2012). To invoke the court's jurisdiction,
plaintiffs must show that their claims are based upon the Constitution, a statute, or a
regulation that "can fairly be interpreted as mandating compensation by the Federal
Govemment for the damages sustained." United States v. Mitchell, 463 U.S. 206,216-17
( 1983) (quoting United States v. Testan , 424 U.S. 392, 400 (1976)).


         Plaintiffs bear the burden ofestablishing this court's subject matter jurisdiction by
 a preponderance ofthe evidence. See Reynolds v. Army & Air Force Exch. Serv., 846
 F .2d 7 46,748 (Fed. Cir. 1988). In reviewing plaintiffs' allegations in support of
jurisdiction, the court must presume all undisputed facts are true and construe all
 reasonable inferences in plaintiffs' favor. Scheuer v. Rhodes, 416 U.S. 232,236 (1974),
 abrogated on other srounds by Harlow v. Fitzgerald, 457 U.S. 800, 814-15 (1982);
 Reynolds, 846 F.2d at 747 (citations omitted). If, however, a motion to dismiss
 "challenges the truth of the jurisdictional facts alleged in the complaint, the . . . court may
 consider relevant evidence in order to resolve the factual dispute." Id. at747. Ifthe court
 determines that it lacks subject matter jurisdiction, it must dismiss the complaint. See
 RCFC l2(hX3).

III.     Analysis

         A.     Count I

        In the first count of the complaint, plaintiff claims that the United States is liable
for damages he suffered as a result ofa taking without just compensation, and the denial
ofboth due process and equal protection. See ECF No. l0 at 16. Plaintiff s claims for
relief are premised on allegations that a judge on the United States District Court for the
Central District of California violated these various constitutional rights. Specifically, he
asserts that the judge:

         refused to seal the case despite multiple clearly essential motions, or request
         federal discovery assistance, or to disqualiff himself to permit a judge with
         knowledge of intemet racketeering to handle the case, and published the
         unredacted documents on the court and Pacer websites, thereby notiffing the
         defendants and allowing them to destroy evidence and move assets out ofthe
         country and beyond recovery by the Plaintiff and others.

Id.   See also id. at 32-37 (detailed allegations
                                               of the claims contained in this summary
paragraph). Plaintiff also complains that the judge improperly dismissed the case for lack
ofprosecution. See id. at 3-4.

        Defendant moves the court to dismiss this count of the complaint for failure to
state a claim, pursuant to RCFC 12(bX6). See ECF No. 11 at 1, 6-10. In the court's
view, however, dismissal pursuant to RCFC l2(bxl) and RCFC 12(h)(3) is more
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appropriate.

        "Binding precedent establishes that the Court ofFederal Claims has nojurisdiction
to review the merits ofa decision rendered by a federal district court." Shinnecock
Indian Nation v. United States,782 F.3d 1345,1352 (Fed. Cir. 2015) (citations omitted).
This court "has no jurisdiction to review the decisions 'ofdistrict courts and cannot
entertain a taking[s]claim that requires the court to scrutinize the actions of another
tribunal."' Id. (quoting InnovairAviation Ltd. v. United States,632F.3d 1336, 1353
(Fed. Cir. 2011)). The allegations in plaintiff s complaint fall squarely within this
prohibition. The actions of which plaintiff complains relate entirely to decisions made
by the district court judge in the course of the litigation before him. Because evaluating
plaintifls claims would require the court to review the decisions made by the District
Court judge, this court is without jurisdiction to consider them.

       Despite the fact that defendant moved for dismissal of the first count on the basis
of RCFC l2(bX6), the court is compelled to dismiss the count for lack ofjurisdiction.
Pursuant to RCFC 12(hX3), "[i]f the court determines at any time that it lacks subject-
matter jurisdiction, the court must dismiss the action." Because the court lacks the
authority to review decisions made by the judge in the United States District Cou( for the
Central District of California, the first count of plaintiff s complaint is dismissed.

       B.      Counts II and   III

        In the second and third counts of his complaint, plaintiff levels extensive
allegations against various individuals and organizations that are not the United States.
See ECF No. l0 at 1 7-2 I . Defendant moves the court to dismiss these counts for lack of
subject matter jurisdiction, pursuant to RCFC 12(bXl).

        The court is plainly without jurisdiction to consider claims against private
 individuals and organizations. See 28 U.S.C. $ la91(a)(l). "The United States is the
 only proper defendant in this Court." Johnson v. United States, No. 17-353, 2017 WL
 7596910, at *4 (Fed. Cl. Aug. 11,2017) (citing United States v. Sherwood, 312 U.S. 584,
 588 (1941); Stephenson v. United States, 58 Fed. Cl. 186, 190 (2003); Steward v. United
 States, 130 Fed. Cl. 172, 178 (2017)  (lt   is . . . well-established that this court does not
 have jurisdiction to hear any claims against defendants other than the United States")).
 "Claims for relief sought against any other party, including officers of the United States
 government and any other individual, 'must be ignored as beyond the jurisdiction ofthe
 court."' Matthews v. United States,72Fed. Cl.274,279 (2006) (quoting Sherwood, 312
 U.S. at 588). In light of this well-established law, the court finds it lacks subject matter
jurisdiction to consider the second and third counts of plaintiff s complaint.
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IV.    Conclusion

        For the foregoing reasons, the court lacls jurisdiction to consider any of the claims
in plaintiffs complaint. Defendant's motion to dismiss, ECF No. 11, is GRANTED,
pursuant to RCFC l2(bxl) and RCFC l2(hx3). The clerk's office is dtuect to ENTER
fural judgment DISIVISSING plaintiffs complaint without prejudice.

       ITIS   SO ORDERED.




                                       Judge
